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		OSCN Found Document:OKLAHOMA COUNCIL OF PUBLIC AFFAIRS v. SMALLEY

					

				
  



				
					
					
						
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				OKLAHOMA COUNCIL OF PUBLIC AFFAIRS v. SMALLEY2019 OK 48Case Number: 117962Decided: 06/19/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 48, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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OKLAHOMA COUNCIL OF PUBLIC AFFAIRS, INC., DOUGLAS P. BEALL, M.D., JONATHAN S. SMALL, II, and JENNIFER WITHERBY, R.N., Petitioners/Protestants,
v.
KELLY SMALLEY and ERIN TAYLOR, Respondents/Proponents.



ORDER



¶1 Oral argument was held on June 18, 2019, concerning a challenge to the sufficiency of the gist and the constitutionality of Initiative Petition 419, State Question 802, pursuant to 34 O.S. Supp. 2015 § 8 (B) &amp; (C). We find that the challenge to the gist's use of 133% in determining eligibility for the proposed Medicaid expansion is not misleading and is sufficient. In McDonald v. Thompson, we stated that "[b]y its very nature, the gist is a simple statement that summarizes the petition." 2018 OK 25, ¶ 12, 414 P.3d 367, 373. We believe the language of the gist is clear. The gist informs signers of what the proposed amendment is intended to do--"expand Oklahoma's Medicaid program to include certain low-income adults between the ages of 18 and 65 whose income does not exceed 133% of the federal poverty level, as permitted under the federal Medicaid laws." (emphasis added).

¶2 The remaining challenges to the constitutionality of Initiative Petition 419, State Question 802, are also denied.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 19th day of June, 2019.


/S/CHIEF JUSTICE



CONCUR: Gurich, C.J., Darby, V.C.J., Kauger, J., Reif, S.J., Thornbrugh, S.J. and Swinton, S.J.



CONCUR IN PART; DISSENT IN PART: Winchester and Combs, JJ. and Bell, S.J.




Combs, J., with whom Winchester, J. and Bell, S.J., join, concurring in part; dissenting in part:


"I concur with the majority that the Protestant's constitutional challenges to Initiative Petition 419 are meritless. However, I dissent to its ruling that the gist is sufficient. The use in the gist of 133% of the federal poverty level rather than the more accurate 138% is misleading to signatories and therefore the petition should be stricken on that basis alone."


RECUSED: Edmondson and Colbert, JJ.


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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2018 OK 25, 414 P.3d 367, McDONALD v. THOMPSONDiscussed
Title 34. Initiative and Referendum
&nbsp;CiteNameLevel

&nbsp;34 O.S. 8, Filing Copy of Proposed Petition - Publication - Protest - Hearing and Determination - Signature Gathering DeadlineCited


	
	








				
					
					
				

		
		

	
		
			
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